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                                   1                                UNITED STATES DISTRICT COURT

                                   2                               NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4     CALIFORNIA RESTAURANT ASSOCIATION,               CASE NO. 4:19-cv-07668-YGR
                                   5                  Plaintiff,                          ORDER: (1) GRANTING-IN-PART AND
                                                                                          DENYING-IN-PART DEFENDANT CITY OF
                                   6            vs.                                       BERKELEY’S MOTION TO DISMISS; AND
                                                                                          (2) GRANTING LEAVE TO AMEND
                                   7     CITY OF BERKELEY,
                                                                                          Re: Dkt. No. 18
                                   8                  Defendant.

                                   9

                                  10          On July 14, 2020, the parties appeared for oral arguments via the Zoom platform. Having

                                  11   carefully considered the briefing and arguments submitted on defendant City of Berkeley’s

                                  12   (“Berkeley”) motion to dismiss pursuant to Federal Rules of Civil Procedure 12(b)(1) and (b)(6),
Northern District of California
 United States District Court




                                  13   as well as the parties’ arguments raised at the motion hearing, the Court GRANTS IN PART

                                  14   Berkeley’s motion on the grounds of both ripeness and standing for the reasons stated on the

                                  15   record. (Dkt. No. 18 (motion).) The Court otherwise DENIES WITHOUT PREJUDICE the remaining

                                  16   grounds of the motion: Berkeley may re-raise these arguments in any response to the filing of an

                                  17   amended complaint.

                                  18          Further, California Restaurant Association (“CRA”) is GRANTED leave to amend in the

                                  19   filing of an amended complaint adding new allegations as to both of these grounds. CRA’s

                                  20   amended complaint shall be filed on or before August 14, 2020. Berkeley’s response to the

                                  21   amended complaint shall be filed on or before September 14, 2020. Any filed motion from

                                  22   Berkeley shall follow the regular 35-day briefing schedule unless otherwise stipulated by the

                                  23   parties and approved by the Court.

                                  24          This Order terminates Docket Number 18.

                                  25          IT IS SO ORDERED.

                                  26

                                  27   Dated: July 22, 2020
                                                                                               YVONNE GONZALEZ ROGERS
                                  28                                                          UNITED STATES DISTRICT JUDGE
